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                   EXHIBIT D
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             Transcript of the Deposition of
                   Gregory Greene
              Case: Gregory Greene v. Mark Karpeles
                 Taken On: November 11, 2019



                                                         Royal Reporting Services, Inc.
                                                                 Phone:312.361.8851
                                                Email:info@royalreportingservices.com
                                              Website: www.royalreportingservices.com
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                                                                          Page 1
               UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF ILLINOIS
                        EASTERN DIVISION

    GREGORY GREENE, individually   )
    and on behalf of all others    )
    similarly situated,            )
                                   )
               Plaintiff,          )
                                   )
          -vs-                     ) Case No. 14-cv-01437
                                   )
    MARK KARPELES, an individual, )
                                   )
               Defendant.          )
    _______________________________)


                   The deposition of GREGORY GREENE, called
    for examination pursuant to the Rules of Civil
    Procedure for the United States District Courts
    pertaining to the taking of depositions, taken before
    Judith T. Lepore, Certified Shorthand Reporter for the
    State of Illinois, at 161 North Clark Street,
    Suite 2700, Illinois, on November 11, 2019, at the
    hour of 10:01 a.m.




    Reported by:        Judith Lepore, CSR
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                                                                           Page 9
1          Q.     When did you first become interested in
2    purchasing bitcoin?
3          A.     2000 -- it was either late 2011 or early
4    2012.      I would estimate probably late 2011.
5          Q.     And how did you learn about bitcoin
6    initially?
7          A.     I think it was -- like I included in my
8    interrogatories, I believe it was when I saw the
9    article "The Rise and Fall of Bitcoin" in Wired
10   Magazine.
11         Q.     Do you regularly read Wired?
12         A.     On and off.       I don't subscribe.
13                                (Whereupon, Greene Exhibit No. 1
14                                  was marked for identification.)
15   BY MS. BRENNAN:
16         Q.     Mr. Greene, you've been shown what's been
17   marked as Exhibit 1.           Do you recognize this as the
18   article that you were just referring to from wired.com
19   called "The Rise and Fall of Bitcoin"?
20         A.     Yes.
21         Q.     And did you read this whole article?
22         A.     Yes.
23         Q.     If I could ask you to look at page 6 of 13 at
24   the bottom, and the second paragraph down that starts


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                                                                         Page 10
1    with "Sure enough," it reads:              "Sure enough, as the
2    price headed upward, disturbing events began to
3    bedevil the bitcoiners.            In mid-June, someone calling
4    himself Allinvain reported that 25,000 bitcoins worth
5    more than $500,000 had been stolen from his computer.
6    (To this day, nobody knows if that claim is true.)"
7    Did you read that at the time?
8          A.     I assume so.       I read the entire article.
9          Q.     Do you recall having any thoughts about
10   bitcoin after reading that somebody had claimed that
11   25,000 bitcoins had been stolen from his computer?
12         A.     What was the question?
13         Q.     Do you recall reading that sentence at the
14   time?
15         A.     I don't recall, but I'm sure I read it, yes.
16         Q.     How about the next sentence, which reads:
17   "About a week later, a hacker pulled off an ingenious
18   attack on a Tokyo-based exchange site called Mt. Gox,
19   which handle 90 percent of all bitcoin exchange
20   transactions."        Do you see that sentence?
21         A.     Yes.
22         Q.     Do you recall reading in late 2011 or early
23   2012 about a hacker attack on the exchange site called
24   Mt. Gox?


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                                                                         Page 11
1          A.     I'm assuming that I read it.             Like I said, I
2    had read the entire article, so yes.
3          Q.     Do you recall having any views at the time
4    about whether or not that would impact your decision
5    to purchase bitcoin?
6          A.     I don't recall, no.          But I don't think that
7    it had any effect on my decision.
8          Q.     What else did you review before deciding to
9    purchase bitcoin?
10         A.     I would have reviewed various posts on
11   bitcointalk.org website.
12         Q.     What is bitcointalk.org?
13         A.     It's a forum at the time that other users or
14   other people who were interested in bitcoin would go
15   into to post postings or to learn about bitcoin, yeah.
16         Q.     How did you become aware of the existence of
17   Bitcointalk?
18         A.     I don't know.       I don't remember.         I don't
19   know if it's mentioned here in this article, but I
20   probably surfed the internet and came across it
21   somehow.
22         Q.     Do you recall any specific posts that you
23   reviewed in late 2011 or early 2012 before buying
24   bitcoin on that website?


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                                                                         Page 15
1          Q.     Was ZipZap the only company that could be
2    used to send money orders to BitInstant?
3          A.     I think ZipZap is what Walgreens uses to send
4    money orders.
5          Q.     Before you purchased bitcoins, did you review
6    information on Mt. Gox's website?
7          A.     Yes.
8          Q.     What information did you review on Mt. Gox's
9    website?
10         A.     I believe I would have reviewed their general
11   website.      What specifically, I don't recall at the
12   time, but I know I would have went to their website
13   and checked it out, saw how user friendly it was, saw,
14   you know, the site itself.             Specifically, I don't
15   recall.
16         Q.     Do you recall any information about the
17   security of the Mt. Gox website or exchange?
18         A.     No, I don't recall.
19         Q.     Do you recall reading anything on Mt. Gox's
20   website that said it would hold bitcoin securely for
21   all users?
22         A.     I believe so, yeah.
23         Q.     Where did you read that?
24         A.     On the terms of use probably.


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                                                                         Page 21
1    virtual vault, that you would always be able to obtain
2    those bitcoins later when you decide to take them off
3    the exchange.
4          Q.     Do you believe that any website is
5    100 percent secure?
6          A.     No.
7          Q.     Do you believe that any exchange like Mt. Gox
8    used for bitcoins is 100 percent secure?
9          A.     No.
10         Q.     Why not?
11         A.     I don't think anything can be 100 percent
12   secure.
13         Q.     Before you bought bitcoin, did you look into
14   using any exchanges other than Mt. Gox?
15         A.     No.
16         Q.     Why not?
17         A.     There were no other exchanges out there at
18   the time, or if there were, I did not know about them.
19         Q.     So is it fair to say then that you did not
20   compare Mt. Gox's statements about the security of its
21   site with the security statements for any other
22   exchange?
23         A.     At the time that I bought them, no.
24         Q.     When did you make your first purchase?


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                                                                         Page 23
1                 MS. BRENNAN:       Ask you to mark this as Greene
2    Exhibit 3, please.
3                                 (Whereupon, Greene Exhibit No. 3
4                                   was marked for identification.)
5    BY MS. BRENNAN:
6          Q.     Mr. Greene, do you recognize what's been
7    handed to you as Greene Exhibit 3?
8          A.     Yes.
9          Q.     And this document -- it's hard to see -- but
10   has a Bates label on the bottom of Greene 19 through
11   20; is that correct?
12         A.     Can you repeat that?
13         Q.     Sure.    In the bottom right-hand corner in
14   sort of a darker black font over the disclaimer at the
15   bottom, there's a marker that says Greene_000019 --
16         A.     Yes.
17         Q.     -- through 20.        Do you see that?
18         A.     Yes.
19         Q.     What is this document?
20         A.     Exhibit 3?
21         Q.     Yes.    Can you describe what it is?
22         A.     It looks like a confirmation that an order
23   was executed for sending U.S. dollars to Mt. Gox in
24   exchange for bitcoin -- or no, this is BitInstant.                      I


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                                                                          Page 24
1     take that back.        I'm sorry.       It's been a while since
2     I've seen this.        But yeah, it's confirmation from
3     BitInstant that I sent funds to them.
4          Q.     And if you look in that middle entry that has
5     a lot of numbers and information at the bottom, it
6     says, "Funds sent."          Do you see that entry?
7          A.     Yes.
8          Q.     And it says $668.58?
9          A.     Yes.
10         Q.     Why was that the amount that you sent?
11         A.     I don't know why.
12         Q.     Was it related to the price of bitcoin and
13    how many bitcoins you were seeking to buy?
14         A.     Yeah, yeah.
15         Q.     Okay.     And then in that second paragraph
16    under "Hey there," it says, "To redeem your Mt. Gox
17    coupon."      What was a Mt. Gox coupon?
18         A.     I don't know.        I don't remember how the
19    process worked of actually getting the bitcoins onto
20    Mt. Gox.      I know that you sent it through BitInstant,
21    and the actual details regarding it I don't remember.
22    I wish I could tell you more, but I don't remember.
23         Q.     And the date of this email is January 5th,
24    2012, correct?


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                                                                          Page 25
1          A.     Yes.
2          Q.     Does that look like the date you first
3     purchased bitcoins from Mt. Gox -- or excuse me --
4     bitcoins using the Mt. Gox exchange?
5                 MR. THOMASSEN:        Object to form.
6                 THE WITNESS:       It probably is, yeah.
7     BY MS. BRENNAN:
8          Q.     Do you recall a purchase prior to
9     January 5th, 2012?
10         A.     No, I don't recall.
11                MS. BRENNAN:       Mark this as Exhibit 4.
12                                 (Whereupon, Greene Exhibit No. 4
13                                  was marked for identification.)
14    BY MS. BRENNAN:
15         Q.     Mr. Greene, you've been handed what's been
16    marked as Exhibit 4, which has Bates labels Greene 17
17    to 18 on the bottom.          Do you see that?
18         A.     Yes.
19         Q.     What is this document?
20         A.     This is another -- it looks like another
21    invoice or confirmation that funds were sent to
22    BitInstant.
23         Q.     And the date of this email is March 4th,
24    2015, correct?


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                                                                          Page 63
1     STATE OF ILLINOIS                         )
                                                )    SS:
2     COUNTY OF COOK                            )
3
4                 I, Judith T. Lepore, Certified Shorthand
5     Reporter in the State of Illinois, do hereby certify
6     that on the 11th day of November, 2019, the deposition
7     of the witness, GREGORY GREENE, called by the
8     Defendant, was taken before me, reported
9     stenographically and was thereafter reduced to
10    typewriting through computer-aided transcription.
11                The said witness, GREGORY GREENE, was first
12    duly sworn to tell the truth, the whole truth, and
13    nothing but the truth, and was then examined upon oral
14    interrogatories.
15                I further certify that the foregoing is a
16    true, accurate and complete record of the questions
17    asked of and answers made by the said witness, at the
18    time and place hereinabove referred to.
19                The signature of the witness was waived by
20    agreement.
21                The undersigned is not interested in the
22    within case, nor of kin or counsel to any of the
23    parties.
24                IN TESTIMONY WHEREOF:           I have hereunto set my


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                                                                          Page 64
1     verified digital signature this 20th of November 2019.
2
3
4
5
                            ____________________________________
6                           Judith T. Lepore, CSR
7
8
      License No. 084-004040
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